                                 UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF ALABAMA
                                         WESTERN DIVISION

IN RE:                                                               CASE NO: 14-71101-JHH
JAMES CAMPBELL and                                                          CHAPTER 13
TARA CAMPBELL

                DEBTORS.


         TRUSTEE’S OBJECTION AND MOTION TO DISMISS FOR LACK OF FEASIBILITY

         Comes now C. David Cottingham, Standing Trustee (the “Trustee”), and, pursuant to Sections 1329(b)
and 1325(a)(6), timely objects to and requests a hearing on the plan modification (the “Plan Modification”) set
forth in the Court’s November 9, 2018 order (Doc. 114), because the Plan Modification is not feasible.

       WHEREFORE, all things considered, the Trustee requests that this Court dismiss the above-referenced
bankruptcy for lack of feasibility and grant any further relief it deems necessary.


This the 30th day of November, 2018.                        /s/ C. David Cottingham
                                                         C. David Cottingham, Standing Trustee

                                         CERTIFICATE OF SERVICE

        This is to certify that I have this day served a copy of the above Objection upon the Attorney for the
Debtors, the Debtors, and the following parties by mailing a copy of the same with adequate postage thereon or by
electronic means when available:

         Eric M. Wilson
         Eric Wilson Law, LLC
         1902 8th Street
         Tuscaloosa, AL 35401

         James and Tara Campbell
         2201 56th Street East
         Tuscaloosa, AL 35405

         Jackson E. Duncan, III
         McCalla Raymer Leibert Pierce, LLC
         2 North 20th Street, Ste 1000
         Birmingham, AL 35203

This the 30th day of November, 2018.                        /s/ C. David Cottingham
                                                         C. David Cottingham, Standing Trustee




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